
MaddeN, Judge,
dissenting:
In spite of all the exculpatory clauses naturally included in'a contract for a sale of surplus property, I think there are still some standards of fair dealing which are applicable. The Government, for convenience, was selling cloth by the pound, a unit of measure of no relevance to persons who intend to use cloth. The plaintiff inquired how many yards there were and the Government told him, by looking at the invoices on which it had bought the cloth by the yard. On the invitation for bids, the Government said that there were 40,000 pounds in the lot. A prudent bidder would then, since he would have to resell or use the cloth by the yard, compute the number of yards in a pound and set his bid price per pound accordingly. The plaintiff did this. There was no reason to suppose that a mistake so great as that made by the Government in weighing, or in recording the weight figures, would occur. We have no idea how it happened to occur. But it was ruinous to the plaintiff, because the additional thousands of pounds which he had to pay for gave him no additional yards which he could sell or make into garments.
The moral of the case is that no rational person should make a reasonably high bid for Government surplus of this kind, unless it is possible and practicable for him to weigh all of these tons of cloth before he computes his bid. These victories for the Government are Pyrrhic victories indeed. If it wins enough of them it will not be able to sell its surplus cloth at all.
The case seems to me to be a case of a mutual mistake of fact, made by presumably honest contracting parties, and subject to the legal rules applicable to such mistakes.
